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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

REGINALD HOLLIDAY and )
FRED BIONDO, on behalf of themselves )
and all other persons similarly situated, )
known and unknown,

Plaintiffs,
Case No. 4:12-cv-01732-ERW
v.

J S EXPRESS INC()RP()RATED,

v\/V\/\/v\/V\/

Defendant.
DEFENDANT’S MEMORANDUM IN SUPPORT OF ITS RESPONSE IN OPPOSITION
TO PLAINTIFFS’ MOTION TO AUTHORIZE NOTICE TO SIMILARLY SITUATED
PERSONS PURSUANT TO 29 U.S.C. 5 216(bl

Defendant J S Express Incorporated (“JS EXpress” or the “Company”) opposes
Plaintiffs’, Reginald Holliday (“Holliday”) and Fred Biondo (“Biondo”, or, collectively
“Plaintiffs”), Motion to Authorize Notice to Similarly Situated Persons Pursuant to 29 U.S.C. §
216(b) (the “Motion”) as follows:

I. INTRODUCTION

Plaintiffs seek conditional certification of over a thousand present and former
independent contractors (“Contractors”) they claim Were misclassiiied and subsequently denied
overtime and minimum Wage compensation Plaintiffs’ Motion must be denied as they fail to
present any admissible evidence - not even a single declaration from a named plaintiff or
putative class member ~ that they and the putative class members they seek to represent are
“similarly situated.” While Plaintiffs attach a partial Department of Labor (“DOL”) iile,

allegedly in support of their Motion, it is not relevant to Plaintiffs’ Motion and is inadmissible

under the F ederal Rules of Evidence.

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Plaintiffs failure to set forth any admissible evidence is hardly surprising The
Contractors they seek to represent Work out of over a dozen states, in different industries, for
different JS Express clients With innumerable distinct demands, With countless different vehicles
requiring endless differences in mileage rates, maintenance costs and hauling capabilities, With
different compensation methods and pay rates that vary Contractor to Contractor, day to day,
client by client and location by location. l\/loreover, the named plaintiffs Worked exclusively out
of the Chicago area and exclusively for third-party U.S. AutoForce. Less than l% of the JS
Express contractors Worked on the unique contract that JS Express had With U.S. AutoForce.
Quite simply, Plaintiffs have not ~ and cannot - meet their burden of making substantial
allegations, supported by admissible evidence, that they are “similarly situated” to the purported
class.

Even if they could meet this burden - and they cannot - Plaintiffs’ Motion must be
denied due to the individualized inquiry necessary to determine each potential class member’s
exempt status, liability and damages Should certification be granted, this Court could be forced
to conduct over l,OOO minitrials regarding exempt status, another l,OOO-plus minitrials regarding
overtime liability, another l,OOO-plus minitrials regarding minimum Wage violations, and,
finally, another l,OOO-plus minitrials regarding damages. Moreover, it Will still have to resolve
Plaintiffs’ six individual claims, allegedly arising under lllinois laW.

To the extent that a collective action is conditionally certified, Plaintiffs’ proposed notice
and consent forms do not adequately and fairly inform potential class members about the nature
of this action and the effects of joining Additionally, Plaintiffs’ request to send out a c‘reminder”
notice is intrusive and unnecessary. Finally, equitable tolling of the statute of limitations is not

appropriate

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II. BACKGROUND

A. Plaintiffs’ Claims

ln their Third Amended Complaint, Plaintiffs assert collective claims for unpaid overtime
under the FLSA (Count I) and failure to pay minimum Wages under the FLSA (Count Vll).
Plaintiffs also assert six individual claims under lllinois Wage and hour laWs.

B. JS Express’ Business

JS Express partners With its clients to provide delivery services. Certz`fication of John N.
Cochran, Jr. (“Cochran Cert.”) (attached hereto as Exhibit A), 1 3. The Company commenced
operations in St. Louis, Missouri on December 6, 1983 and subsequently opened branch
locations in Kansas City, Memphis and Indianapolis. Id. at jt 4. JS Express closed its Memphis
facility about frve years ago. Id.

JS Express’ clients fall into three basic industries: financial/professional, trade/industrial
and medical. The financial/professional clients include banks, professional firms (e.g., legal,
accounting), government agencies, insurance companies, travel agencies, mortgage/title
companies, and payroll processing Cochran Cert., 11 6. The trade/industrial clients include
Wholesale distributors, auto parts and office supply stores, construction firms, publishing
companies, and computer companies Id. The medical clients include hospitals, laboratories,
pharmacies, assisted living facilities, and blood collection centers. Ia’.

Each industry’s clients’ needs are distinct. Cochrcm Cert., 11 7. Further, as explained
more fully beloW, clients’ needs Within each industry vary as Well. Id. at 11 8.

C. Contractors

Contractors contract With JS Express for the opportunity to perform transportation and

delivery services needed by JS Express’ clients. Cochr'an Cert., 1[ 14. The services performed

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by Contractors at JS Express’ St. Louis, lndianapolis and Kansas City locations depend upon the
Contractors’ choice of route type (on-demand, routed or both), JS Express’ client-specific needs
and requirements, the industry for Which deliveries are being made, opportunities available day
to day and location by location, the Contractor’s availability and desire for more or less Work,
and the Contractor’s choice of vehicle Id., at 11 15; See also Certz`fications of Kennel‘h Maurz`ce
Gray (Gray Cert.), Dam`el E. Dieters (Dz'eters Cert.), Kevz'n McClain (McClain Cerr‘.), Chrl`s
McKm`ght (McKnight Cert.), John Haukap (Haukap Cert.), Rz`chm‘d H. Bauer (Bauer Cert.), Lorz`
B. Rz’naberger (Rinaberger Cerr‘.), Gene M Reeder (Reeder Cert.), C)'az`g S. Fleming (Fleming
Cerl.), Richard Frisch (Frl`sch Cert.), Marcel Reynola's (Reynolds Cert.), Jasper Sz'mpson
(Simpson Cerf.), Toney Goucher (Goucher Cert.), and Harry Hicks (Hicks Cerf.) (attached
hereto as Exhibit B, subparts l - 14).

D. Type of Routed Work

Generally, Contractors can choose from two types of Work, if available: routed Work
(Which includes night distribution Work) and on-demand Work. Cochrcm Cert, 11 8-9.
Contractors Who perform Work through JS Express exclusively for a third-party and not through
one of the Company’s central locations ~ such as Plaintiffs Holliday and Biondo - may have
more or less options depending on the client’s needs. Ia'. at ii 14.

1. Routed Work

Routed Work varies based on the client. Some routed Work is fixed in that clients do not
give Contractors much flexibility on the times for delivery or the sequence of stops. Flemz`ng
Cerz‘., il l, l3; Gmy Cerf., jt l. Examples of such fixed routes include some pharmaceutical drug
deliveries (because of nurse shift changes and patient Waking up needing medication), and some

bank deliveries (due to banks’ practices involving items processing). Cochrcm Cert., il 15;

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Flemz'ng Cert,, 11 l; Reeder Cert., 11 l; Haukap Cert., 11 3. Some routed Work, however, is not
fixed in that the Contractor is free to determine starting times and the sequence of stops and need
only make pick-ups and deliveries Within certain broad time frames. Haukap Cert. , 11 3; Goucher
Cert., 11 14; Simpson Cerl‘., 11 ll. Payroll deliveries are an example of such non-fixed routed
Work in Which the Contractor may deliver the payrolls in any sequence of stops, but must
complete all deliveries by a set time, noon for some clients. Cochran Cert., 1115; Flemz`ng Cerl.,
11 l.

Contractors choose the type of routed Work they Want, based on availability. Cochmn
Cert., 11 17; Sz`mpson Cerr‘., 11 4; Flemz`ng Cerz‘., 11 l~4; Bauer Cert., 11 lO; Rz'naberger Cerl., 11 9;
Gmy Cert., 11 13. Opportunities for routed Work in St. Louis, for instance, are posted at the JS
Express St. Louis facility on a daily basis. Cochrcm Cerf., 11 l6; Gray Cert., 11 l3. Contractors
can place bids on the routes they Want. ]a'. Frequently, the routes posted are one- or two~stop
routes. Cochran Cert., 11 l6. Approximately 25% of the Contractors at the St. Louis location
create their day’s Work through the posted route Work. Id. at 11 l7. At the branch locations,
there is less posting of routed Work because the client opportunities are not as prevalent. Id.
Whether Contractors such as Plaintiffs Holliday and Biondo Were able to choose their routes Was
entirely dependent on the needs of the client they exclusively provided services to. Ia’. ln
addition to posted routes, Contractors obtain routes through communications With other
Contractors and JS Express and by accepting routes available When the Contractor signs his or
her contract With JS Express. Id.

Contractors Will often choose one type of routed Work in the morning and another in the
afternoon. Coch)"an Cerf., 11 l7; F/eming Cert., 11 l; Gray Cert., 11 l. For example, a Contractor

may deliver a payroll route in the morning and then bank runs in the afternoon. Id. Another

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example of mixing routes involves the night distribution routes. There are some clients whose
products must be distributed at night. Cochran Cert., 11 l7. The needs of these customers vary
daily so the Contractors create their own order of deliveries depending on the client needs, and
then deliver based on the fixed or non-fixed client drop times, commingling those deliveries as
applicable Id. The method of compensation for routed work has varied over time and at
different locations For example, some routed work is paid by the stop, while other routed work
is paid by the route on a fixed basis. Id., 11 18.

2. On-Demand Work

On-demand work also varies based on the client. Cochran Cert., 11 l9. There are
Contractors who primarily or only do on~demand work. Id.; Bauer Cert., 11 l; Reeder Cert., 11 l.
There are Contractors who provide on-demand services for only one client, such as Plaintiffs
Holliday and Biondo. Id. An on-demand Contractor does not have any scheduled availability.
Id. Rather, the Contractor chooses when he or she wants to be available to make deliveries. Id.
To make it known to JS Express that the Contractor is available to make deliveries, the
Contractor typically logs in using an android device ]a'. At that point, JS Express informs the
Contractor of on-demand deliveries that are available Id. When the Contractor decides to no
longer be available for on-demand deliveries for the day, the Contractor simply logs out of the
system. Id. During the day, Contractors and JS Express communicate to determine what other
on-demand pick-ups and deliveries are available Contractors doing routed work will often seek
on-dernand work to make extra money. ]a’. The opportunities for on-demand work vary among
the JS Express locations, with the branch locations having fewer opportunities and Contractors
f such as Holliday and Biondo having fewer or no opportunities because the client needs differ.

Ia’. On~demand work is typically paid on a percentage basis. Ia'.

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E. The Client’s Requirements

JS Express’ clients also have varying requirements regarding their transportation and
delivery service needs. Cochran Cert., 11 lZ. Some clients, such as banks, require a specific
order for the stops on a particular route ]d. Other clients, such as payroll companies, allow the
Contractor to decide the order of stops. Id. Some clients want to communicate directly with the
Contractor regarding deliveries, others do not. Ia’. Some clients require updates regarding the
status of pick-ups and deliveries (with varying requirements regarding the services being
provided by the Contractor). Id, Clients also have different requirements regarding the
particulars as to the pickup and delivery of their packages, with some clients having
requirements as to the location for entering and leaving the client location. Id.

Some clients do not have needs on a regular basis, but do have pick-up and delivery
needs at infrequent or immediate times. Such clients may have daily needs but only require that
pick-up and delivery occur sometime that day. Or, they may only have needs at infrequent or
random times. They may have immediate needs or needs for unscheduled pick-ups. ]a'. at 11 9.

The branch locations and client contracts have been opened and entered to accommodate
one or more client’s needs. Cochran Cer't., 11 8-9. Typically, over time, the branch locations
have increased the number of clients they serve, which necessarily increases the amount and type
of client work available for Contractors Ia’. The same is not necessarily true for Contractors
operating out of a location with no JS Express facility, such as Plaintiffs Holliday and Biondo.
Id. at lO-lB.

ln descending order, currently the largest JS Express locations with the most clients and
the most varied client work available for JS Express’ Contractors are as follows: St. Louis,

Indianapolis, Kansas City. Cochran Cert. , 11 5.

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F. Plaintiffs Holliday and Biondo and Purported Class Members

JS Express has no offices in Chicago or lllinois. Cochrcm Cert., 11 4, lO. From
September l, 2007 to December 31, 2012, it contracted with U.S. AutoForce’s three separately
managed locations in Alsip, Glendale Heights and Niles, lllinois - all centered around Chicago.
Cochran Cert., 11 4. Named Plaintiffs and other Contractors delivered exclusively for U.S.
AutoForce in Chicago and constituted less than l% of the total Contractors Cochran Cerf., 11
l4. lnitially, under JS Express’ contract with U.S. AutoForce in Chicago, payment was made by
the hour, which JS Express has never done on any other contracts Cochr'a)i Cerf., 11 41.

Plaintiffs claim they do not have the opportunity to exercise business skills and initiative,
maintain separate business structures or subcontract their Work. See Plaintij”/%’ Thr`rd Amended
Complaint (Third. Am. Compl.), Dkt. 55, 11 28~29, 3l. However, Contractors Marcel Reynolds,
Dan Dieters and Kevin McClain all perform services for JS Express under their own business
entities Reynolds Cert., 11 6, Dieters Cerl., 11 7, McClain Cerl‘., 11 7. Further, Marcel Reynolds
and Chris McKnight have hired subcontractors in the past. Reynolds Cert., 11 5, ll; McKnighf
Cerf., 11 l4. Other Contractors recognize they can subcontract and know other Contractors who
have Hicks Cert., 11 ll, Haukap Cert., 11 6, Reeder Cerf., 11 l7.

Plaintiffs also claim they and those similarly situated are precluded from working for
others. Dkt. 55, 11 38. However, Contractor Harry Hicks owns and operates a promotional
business called Show-Me Promotions, which he has been running for more than five years.
Hz`cks Cerf., 11 l6. Contractor Daniel Dieters owns and operates DEl Home lnspections, LLC.
Dieters Cerr., 11 7. Contractor Chris McKnight currently works in a restaurant in addition to
performing services for JS Express and formerly contracted with both JS Express and Access

Courier, a JS Express competitor Mcan`ght Cerf., 11, l5. Contractor Richard Frisch previously

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managed a Steak N’ Shake Restaurant While contracting for JS Express. Fr'isch Cert., 11 8. He
recently began contracting full-time because he makes more money. Id. Contractors who do not
hold other jobs recognize that they can. Bauer Cert., 11 8 (“l understand l could go out and do
work for another company at any time But l am happy with the routes l have available here.”).

Plaintiffs allege Contractors had no control over the key determinants of profit and loss.
Dkt. 55, 11 37. However, Contractors in St. Louis and Kansas City can negotiate rates for
services with JS Express, pick and choose routes based on profitability and time commitment,
and are free to accept or reject Work at will, with no advance warning, for any reason or no
reason at all and without repercussion. Haukap Cert., 11 7 (negotiated rates a number of times,
for instance: negotiated a rate of 65% instead of 62% f`or on-demand, local routes and negotiated
for a higher rate on deliveries to Bloomington, lllinois); Reea'er Cert,, 11 7, Reynolds Cert., 11 3
(negotiated rate with JS Express when entered independent contractor agreement); Gray Cerl‘. , 11
lO, 13 (stating that there is a bid board in the St. Louis office Were available routes are posted).
Also, some Contractors, like Kevin McClain, advertise their own courier and delivery service
with “anyone who will listen.” McClain Cert., 1122.

Similarly, Jasper Simpson and others turn down work where long drives make fuel costs
uneconomical. Simpson Cert., 11 3; Gray Cert., 11 8. Others turn down work where - in their
estimation -the route simply does not pay enough. McKnight Cerf., 11 10 (“l usually don’t take
Scnucks runs because it’s not enough money for me . . .”); Fleming Cert,, 11 7. Still others
optimize their profits by selecting a particular type of vehicle For instance Kenneth Maurice
Gray replaced his car with a van because he can carry more and earns higher rates per delivery
for the larger items he carries. Gray Cerr. , 11 5. Contractor Richard Bauer “switched from a car to

a truck over the past year because of fuel savings.” Baz/er Cert., 11 9. Similarly, some

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Contractors operate multiple vehicles so they can maximize profits, delivering payroll one day
and large equipment the next. Reynola's Cert., 11 7. Contractors also testify that they chose their
vehicle because of the types of deliveries it permits them to make Fleming Ce)~f., 11 6 (drives a
minivan because “I can make more money delivering with a van.”)

Plaintiffs also claim JS Express manages all aspects of deliveries, dictating when, where
and how they are made Dkt. 55, 11 36. However, U.S. AutoForce, not JS Express was
responsible for overseeing all deliveries by Plaintiffs through their separate management
Cochran Cert., 11 4, 18. Contractors at other JS Express locations did not share this experience
Hz`cks Cerl‘., 11 9, Rinaberger Cert., 11 16, Simpson Cert., 11 10, Goucher Cert., 11 13; Bauer Cerf. 11
10; Hcmkup Cert., 11 13, Gray Cert., 11 9; Flemings Cert., 11 13, 23. Plaintiffs also allege that they
are required to wear a JS Express uniform and purchase a cellular telephone Dkt. 55, 11 34.
Again, other Contractors disagree Gray Cert., 11 12; Dieters Cerf., 11 14; Rinaberger Cert., 11 20;
Goucher Cert., 11 18; Hicks Cert., 11 12; Sz`mpson Cert., 11 l4.

ln fact, other Contractors for JS Express report that they understand they are independent
contractors Gray Cerz‘., 11 ll; Dieters Cerr., 11 l8; McClain Cerf., 11 15; Mcan`ght Cert,, 1118;
Bauer Cert., 1113; Rinaberger Cert., 11 24; Reeder Cert., 11 20; Fleming Cerf., 1115; Frl`sch Cert.,
1114 (“I know l am an independent contractor l’ve been self-employed for 20 years in various
capacities, so I’m very familiar with how this works.”); Hicks Cert., 11 6; Sl`mpson, 11 8; Reynolds
Cerf., 11 l4; Goz/che)" Cerf., 11 '7. They do not consider themselves “permanent employees.”
Dieters Cerl‘., 11 2l; McC/ain Cerf., 11 19; Frisch Cer'l‘., 11 15; Hicks Cer/‘., 11 6. They deny that
they are under a windows of hours in which they must “report” for work. Gray Cert., 11 14;
McKnight Cerl‘., 11 24; Bauer Cert., 11 l3. They deny that they have to report their daily

availability to JS Express. Gray Cerf., 11 15; Dieters Cert., 11 22; McClaz`n Cerf., 11 20; McKnight

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Cert., 11 23. They deny that they have ever been paid on an hourly basis. Gray Cert., 11 13;
McClaz`n Cert., 11 5; Flemz'ng Ce)"f., 11 9; Sz`mpson Cerr., 11 9 They testify that they receive
different rates for different routes. Gray Cert., 11 5; Rinaberger Cert., 11 9; Goucher Cert., 11 ll;
Hl`cks Cert., 11 8; Simpson Cert., 11 ll They proclaim that contracting with JS Express is a “win
win” situation for them. McKm'ghf Cert., 11 9; Rinaberger Cert., 11 l2. They state that they are
the boss of their own job and that they compete for work. Gray Cert., 11 l8; Haukap Cert., 11 13;
Reeder Cer)‘., 11 10; Reynola’s Cerf., 11 8. They deny that they are or have ever been referred to by
JS Express as “Fleet Drivers.” McClaz`n Cert., 11 l7; Dieters Cerf., 11 18; McKnighf Cert., 11 20;
Haukap Cerf., 11 21; Bauer Cerf., 11 16; Reea’er Cert., 11 23; Reynolds Cert., 11 l6. They recognize
that if they make a mistake, it is on them, and they are responsible for making it right. McClain
Cerz‘., 11 18; McKnighf Cert., 11 2l; Bauer Cert., 11 l7 (“l know my settlement can be reduced if l
make a mistake and a customer needs to be refunded”); Fleming Cert. , 11 l9; Goucher Cert. , 11 15.
III. ARGUMENT
Plaintiffs’ motion to certify a collective action under 29 U.S.C. § 2]6(b) must be denied.
A. Plaintiffs’ Motion Must Be Denied As Thev Fail To Submit A Single
Declaration, Or Any Other Admissible Evidence, Supporting Their Claim
That Putative Class Members Are “Similarlv Situated”

Under 29 U.S.C. § 2l6(b), an employee may bring an action under the FLSA on his own
behalf as well as for those “similarly situated.” The FLSA does not define “similarly situated”
and the Eighth Circuit has not defined the standards for determining whether potential putative
plaintiffs are “similarly situated.” Huang v. Gafeway Hotel Holdings, 248 F.R.D. 225, 227
(E.D.Mo. 2008). However, courts in the Eighth Circuit, including this Court, have conducted a

two-step analysis to determine whether individuals are “similar'ly situated.” Litflejield v, Dealer

Warl"anty Sel'vices, LLC, 679 F. Supp.2d 1014 (E.D.Mo. 2010).

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ln the first step, the notice stage, the Court determines whether notice of the action should
be given to potential class members. Littlefz`eld, 679 F.Supp.2d at 1016. Conditional
certification at the notice stage requires substantial allegations that the putative class members
were together the victims of a single decision, policy or plan. Ia’. at 1017; Penm`ngl.‘on at *l.
Plaintiffs may satisfy their burden through the use of affidavits, supported by admissible
evidence ]d.; See also Denr)ey v. Lester’s LLC, No. 4:12CV377 JCH (E.D.Mo. 2012). “[They]
may not meet this burden through unsupported assertions of additional plaintiffs and widespread
FLSA violations,” or with nothing more than mere averments in their Complaint. Ia'.; Wacker v.
Pers. Toach Care, lnc., 2008 WL 4838146, *1 (E.D.Mo. Nov. 6, 2008) (Court denied class
certification where plaintiff failed to testify that he was denied overtime compensation);
Similarly, plaintiffs must do more than make statements based on “information and belief” or
“speculat[ion] about what [they] think[] happened.” Tab Evans v. Contract Callers, [nc., 2012
WL 234653 (E.D. Mo. Jan. 25, 2012) (emphasis added).

Contrary to Plaintiffs contention, JS Express’ classification of individuals who perform
courier services as independent contractors does not constitute a single policy, decision or plan.
As such, Plaintiffs’ threadbare allegation that they are “similarly situated” to all other
Contractors based on their classification status is not sufficient for the purposes of an FLSA
collective action.

l`. Plaintiffs Fal`l to Puf Forfh any Decla)'afl`ons in Srlpporf of Their Claims

Neither the named plaintiffs nor any putative plaintiffs submitted declarations to support
their claims ln Penrrz`ngfon v. ]nl‘egrl`fy Communications, 2013 WL 357516, `“"1-2 (E.D.Mo.
January 29, 2013), this Court denied plaintiffs’ first and second motions to conditionally certify a

class of allegedly misclassified cable installers who claimed “defendants had a corporate-wide

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common policy or plan where they misclassified cable installers as ‘independent contractors’
instead of employees and required them to work more than 40 hours per week without overtime
pay.” Though plaintiffs alleged defendant had a company-wide policy of misclassification and
supported their original motion with three declarations from the named plaintiffs regarding their
individual relationships with the defendant, they made no claims regarding the relationship
between the defendant and the putative class members Ia’. Accordingly, this Court found they
failed to make “substantial allegations that the putative class members were together the victims
of a single decision, policy or plan.” Ia’. Further, though Plaintiffs submitted four declarations in
connection with their renewed motion, which claimed they “Witnessed and were aware of other
cable installers being compensated inappropriately,” and stated they overheard conversations by
installers regarding their unfair compensation, this Court again denied their motion. Ia’. The
Court found that the statements in Plaintiffs’ declarations regarding the putative class members
constituted nothing more than inadmissible hearsay, and were insufficient to meet plaintiffs’
burden at the notice stage Ia’.

Similarly, in Tab Evans v. Contracf Callers, Inc., this Court denied conditional
certification where plaintiff alleged his former employer violated the FLSA by failing to pay
overtime and minimum wage, but presented only his own affidavit and that of one other
employee 2012 WL 234653, at *1. The Court found plaintiff’ s repeated declaration that “upon
his best information and belief” other employees that worked at the same office and location as
he did experienced the same or similar FLSA violations due to the employer’s policy were
insufficient Id.

Likewise, in Wacker v. Pers. Toach Care, Inc., this Court denied conditional certification

where the plaintiff himself failed to testify that he was denied benefits under the FLSA and

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where the only admissible evidence was a single declaration based on speculation and belief.
2008 WL 4838146 at *1. The single employee affidavit plaintiff produced stated that the
employee was “‘very familiar with’ and [had] ‘direct knowledge of’ the national and local
operations and policies of 1defendant.] [However,] the affidavit provide[d] nothing specific to
explain how, from [the affiant’s] office in Missouri, she learned the facts she purport[ed] to
know about the operations of the other affiliates.” Id. at *2.

Courts nationwide have applied similar reasoning in denying conditional class
certification Andel v. Patferson-UTI Drilling Co., LLC, 280 F.R.D. 287, 288 (S.D. Tex. 2012)
(Court denied conditional certification for welders who alleged they were misclassified as
independent contractors and claimed defendant’s “common decision, policy or plan was [its]
uniform classification of the [p]laintiffs and putative plaintiffs as independent contractors” on
basis that classification is not dispositive for conditional certification.); Ha)~'riel v. Wal-Mart
Stores, Inc., WL 2878078 (D.N.J. July 13, 2012) (conditional class certification denied where
plaintiff claimed he was similarly situated to employees with similar job titles and duties, but
failed to provide the existence of even one other person who would chose to opt in to the putative
class and establishing an FLSA violation would require an examination of each employee’s
individual work experiences); Hal[ v. Guardsmark, LLC, 2012 WL 3580086 (W.D. Pa. Aug. 17,
2012) (conditional certification of nationwide class of security guards denied where only
declarations submitted were plaintiffs’ own and no proof of potential class members with intent
to join).

Here, Plaintiffs did not submit their own declarations; Plaintiffs did not submit
declarations from any other Contractors working in Chicago; Plaintiffs did not submit

declarations from any Contractors working for U.S. AutoFor'ce, which amounted to less than 1%

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of JS Express’ Contractors; and Plaintiffs did not submit any declarations from any Contractors
working outside of Chicago or working for a different client. lnstead, they seek to rely on
“catch-all” allegations that JS Express “employs other 1Contractors], like Plaintiffs . . .,” without
naming a single “similarly situated” individual or listing when, where or how Plaintiffs observed
that they are “similarly situated.” ln short, Plaintiffs put forth even less proof than the
unsuccessful plaintiffs in Pennz`ngton, Tab and Wacker, and their Motion must be denied.

ii. Plaintiffs Carmot Use the Department of Labo)"’s Documents T 0 Meet Their
Evia'entiary Bura’en

In addition to the foregoing, Plaintiffs cannot rely on the Department of Labor’s
investigation regarding JS Express to meet their obligation to come forward with “admissible
evidence” supporting their motion for nationwide collective treatment Jost v. Commanwealth
Lana' Title Ins., No. 4:08-cv-734, 2009 WL 211943, *3 (E.D. Mo. Jan. 27, 2009).

First, the documents are not relevant to the issue currently before the Court - whether the
putative class members are “similarly situated.” 29 U.S.C. § 2l6(b). The documents describe, at
best, an incomplete investigation into a single complaint, arising from a single location,
regarding one employee’s status (See, e.g., Dkt. 53-2 at pages 10, 16 of 42). The investigator
does not appear to have considered whether different Contractors, particularly those in different
states, were differently situated than the complainant lnstead, the investigator focused her
attention on the merits of the single complainant’s claim under the FLSA. (Dkt. 53-2 at 15-25 of
42). As the Court is aware, however, “the merits of plaintiff’ s claims are not considered” at the
conditional class certification stage Huang, 248 F.R.D. 225, 227 (E.D. Mo. 2008). at 227. So,
the Department’s records are not relevant to and do not support Plaintiffs’ motion for conditional

class certification.

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Second, even if the documents Were relevant to the current motion, they are not the type
of documents that should be admitted to evidence under Fed. R. Evid. 803(8). Although Rule
803(8) creates an avenue for the admission of certain public records, the text of the rule and
courts at all levels caution trial courts about admitting reports where there may be a “lack of
trustworthiness” Fed. R. Evid. 803(8)(13); Palmer v. Ho]j‘man, 318 U.S. 109, 113-114 (1943);
Johnson v. Yellow Frez'ghf Sys., Inc., 734 F.2d 1304, 1309-10 (8th Cir. 1984). “Thus, a trial
judge has the discretion, and indeed the obligation, to exclude an entire report or portions
thereof...that []he determines to be untrustworthy.” Beech Aircrafz‘ Corp. v. Rainey, 488 U.S.
153, 167 (1988).

Here, the documents are untrustworthy for a number of reasons As an initial matter, the
documents make clear that the Department was aware that its investigation was “limited.” (Dkt.
53-2 at page 10-11 of 42). There is also no indication that the investigation was ever completed.
To the contrary, the Department “decided not to expend any further resources toward the
litigation as a result of pending private litigation” (Dkt. 53-2 at pages 12 of 42), correctly leaving
the finding of fact and conclusions of law to this Court. To that end, the documents relied upon
by Plaintiffs are no more than the investigator’s report to her superior No hearing was held.
Beech Al`rcraft Corp., 488 U.S. at 167 n.11 (noting that the rules Advisory Committee’s
proposed test for trustworthiness included “whether a hearing was held”). There is nothing in the
documents or Plaintiffs’ counsel’s affidavit indicating that the documents represent a final
finding or opinion of the Department or the Secretary. See, e.g., erk v. Terml`nex ]nr’l CO., 628
F.3d 439, 449 (8th Cir. 2010) (properly excluding report that was not the official opinion of the
EPA and bore a prominent disclaimer reducing its trustworthiness). l\/loreover, among other

inconsistencies and oversights, the documents i) inaccurately state the nature of JS Express’

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business as “Pharmaceutical Sales/Carrier,” ii) include a statement from Plaintiff Holliday that is
unsigned, does not give details of daily duties or tasks, does not reference duties of other JS
Express Contractors or even attempt to make comparisons; iii) do not include a statement from
or notes regarding Plaintiff Biondo or any other Contractor, and iv) make no mention of the
Chicago Contractors, named Plaintiffs or U.S. AutoForce. (Dkt. 53-2-5)

Perhaps most troubling is that the investigation and resulting documents were clearly
created With a view towards litigation (Dkt. 53-2 at pages 12, 28 - 42) (noting that the
investigation was “especially. . .likely to be referred to the RSOL for litigation.”). ln that context,
Plaintiffs cannot credibly present the investigation reports as the opinion of a neutral fact-finder.
The Department was preparing its case as a litigant before the court The Supreme Court has
long held that when a document’s “primary utility is in litigating” it cannot be admitted under a
hearsay exception intended for records of a business or agency’s normal operations Palmer v.
Hojj’man, 318 U.S. 109, 113-114 (1943); see also Beech Az`rcrafr Corp., 488 U.S. at 167 n. 11
(Advisory Committee’s proposed test for trustworthiness included whether the agency had a
“possible bias when reports are prepared with a view to possible litigation”).

The Department of Labor documents also lack trustworthiness and should not be
admitted under Rule 803(8)(B), because they are unauthenticated and heavily redacted Just like
the Department of Labor report excluded in Roa’rz`guez v. Smithfleld Packing Co., lnc., 545
F.Supp.2d 508, 513-14 (D. Md. 2008), the documents have not been authenticated under oath by
any Department official. Many of the pages are merely “typewritten pages containing no
indication of [their] source . .or even an indication that [theyj were issued by the Department of
Labor.” Ia’.; (see Dkt. 53-2 at pages 12-29 of 42). The names of the complainant, the

investigator, and other significant details in the reports and exhibits have all been r'edacted. See

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Roa'riguez, 545 F.Supp. 2d at 514. A document with these characteristics lacks trustworthiness
and should not be admitted under Rule 803(8)(B). Id.

Finally, the documents are not admissible because they contain hearsay from unidentified
witnesses The documents contain substantial information that could only have come from the
complainant and/or other Contractors These statements constitute hearsay. Fed. R. Evid.
801(c). The documents that restate those hearsay statements present “an instance of double
hearsay.” U.S. v. Ortiz, 125 F.3d 630, 632 (8th Cir. 1997). The Department’s documents,
therefore, are “inadmissible unless each level of hearsay falls within an exception to the hearsay
rule.” Ia’.; see also Haml`lfon v. Missourl` Dep’t of Corr., No. 08-3277-cv, 2011 WL 1309464,
*2-3 (W.D. Mo. April 4, 2011). Accor'dingly, even if Rule 803(B) would allow admission of the
documents as a public record, the documents are not admissible because they contain a second
layer of hearsay.

JS Express, moreover, cannot adequately conduct a cross-examination regarding the
statements and conclusions set forth in the documents Courts should be wary of relying on
investigative reports to find facts because of the “inability of the defendant to cross-examine the
report in the same Way that a party can cross-examine an adverse witness.” Johnson, 734 F.2d at
1309. JS Express would be further disadvantaged here because it cannot cross-examine either
the complainant or the Department’s investigator Their names have been redacted. (See, e.g.,
Dkt. 53-2 at pages 16, 29-31 of 42). JS Express simply has no way to verify or challenge the
facts, opinions and conclusions stated in the documents

For all of these reasons, the Plaintiffs cannot rely on the Department of Labor’s
investigative report and related documents to meet their burden to provide some admissible

evidence in support of their motion for conditional class certification

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B. Putative Plaintiffs Are Also Not Similarlv Situated For The Separate And
Independent Reason That Determining Their Status Under the FLSA
Requires A Fact-Intensive Individual Analvsis

Plaintiffs’ Motion must fail for the separate and independent reason that collective
treatment is not appropriate or feasible in this case due to the individualized inquiry necessary to
determine exempt status for each proposed class member, liability and damages Whether a
worker is an employee or an independent contractor is a mixed legal and factual question that
heavily depends on the facts relating to each individual, and which is a relevant determination
when considering whether workers are “similarly situated.” Yormg v. Cerner Corp., 503 F.
Supp. 2d 1226 (W.D. Mo. 2007) (finding job duties relevant where salaried employees brought
suit to recover overtime pay under the FLSA); Watson v. Sw”f-Frac Wellheaa’ Equip. Co., [nc.,
4:11-CV-843 KGB, 2012 WL 5185869 (E.D. Ark. Oct. 18, 2012) (“job duties will often be
relevant to whether the employees are similarly situated insofar as their job duties relate to
whether they were correctly classified as exempt from the FLSA's overtime requirements.”)
(internal citations omitted).

To determine Whether an individual is an employee or an independent contractor under
the FLSA, courts within the Eighth Circuit apply a six-factor “economic realities test” based on
the totality of the circumstances Dole v. Amerilink Co)'})., 729 F.Supp. 73, 75-76 (E.D.Mo.
1990). Due the highly individualized nature of this inquiry, Courts in both this Circuit and
nationwide have denied conditional certification in cases such as this where there are material
differences in the duties and responsibilities of allegedly misclassified workers See, e.g., Yozmg
v. Cerner Corp., 503 F. Supp. 2d 1226 (W.D. l\/Io. 2007) (denying conditional certification where
allegedly misclassified workers’ “job responsibilities were so varied that court would have to

entertain myriad individualized analyses of whether employees in particular jobs were properly

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exempt by employer.”); Freeman v. Wal-Marf Stores, Inc., 256 F. Supp. 2d 941 (W.D. Ark.
2003) (denying conditional certification for allegedly misclassified, salaried employees as not
similarly situated, and collective action not appropriate where proposed class included several
thousand current and former employees and there were material differences in duties and
responsibilities of those employees.); Andel, 280 F.R.D. at 288 (Court denied conditional
certification for welders who alleged they were misclassified as independent contractors as “it
must determine whether the proof to demonstrate that the workers are ‘employees’ or
‘independent contractors’ can be applied to the class as a whole . . [and] [a]n inquiry into the
employee’s specific job duties . . . is not appropriate in a class lawsuit under Section 216(b).”);
Holl‘ v. Rz'te Aia’ Corp., 333 F. Supp. 2d 1265 (l\/I.D. Ala. 2004) (denying conditional class
certification for allegedly misclassified store managers or assistant store managers nationwide
where variations in evidence concerning amount of time spent running a cash register, stocking
shelves, making signs, etc. versus managing the retail store); England v. New Century Fin.
Corp., 370 F. Supp. 2d 504, 506 (M.D. La. 2005) (denying conditional certification of allegedly
misclassified workers were case involved multiple geographical locations across the country and
individual issues would predominate due to variances between locations, supervisors and factual
situations and because damages would need to be calculated on a case-by-case basis.); Basco v.
Wal-Mart Sto)"es, Inc., 2004 WL 1497709, *8 (E.D.La. July 2, 2004) (a case to recover unpaid
overtime should not be even conditionally certified where the potential opt-in plaintiffs
“performed different jobs at different geographic locations and were subject to different
managerial requirements which occurred at various times as a result of various decisions by
different supervisors made on a decentralized employee-by-employee basis”); Clausman v.

Nortel Nel,“works, Inc., 2003 WL 21314065, *5 (S.D.lnd.2003) (where members of defendant's

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sale staff performed their duties in a variety of ways with respect to customer contact and time
spent away from the office depending on the sales group to which they were assigned, individual
inquiry was necessary to determine Whether each was properly classified under the FLSA).

lf this Court certifies this class, it would have to conduct a fact intensive and
individualized analysis for each and every one of the 1000-plus potential plaintiffs that opt in to
determine if each plaintiff was improperly classified as an independent contractor

Further, even assuming this Court finds that Plaintiffs and other purported class members
were misclassified, the Court would then have to examine the time recording practices of each
and every class member to determine if there were any overtime violations This would require
the Court to make detailed factual findings regarding, inter alia, 1) whether each Contractor
worked during all of the time they claim to have worked, 2) whether each Contractor recorded all
of their time, 3) how much time each Contractor worked in a given week, and 4) how much each
Contractor received for their services Each of these factors, varies job by job, location by
location, client by client and Contractor by Contractor, with Contractors often receiving varying
rates for work performed each day.

Similarly, regarding a determination of minimum wage violations, pursuant to Plaintiffs’
own motion, this Court will be forced to evaluate for each opt-in plaintiff, 1) the highly-
individualized costs incurred by each Contractor in paying for fuel and vehicle maintenance -
which varies drastically from vehicle to vehicle, location to location, route to route and day to
day, 2) the weekly miles driven by each Contractor, which can vary by hundreds of miles, and
3) individualized mileage reimbursement JS Express paid to each Contractor under certain

circumstances

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Likewise, after conducting potentially 1,000-plus minitrials concerning exempt status and
then another potential 1,000-plus minitrials regarding liability, this Court will still need to
conduct another potential 1,000-plus minitrials to determine damages

There is simply no way for Plaintiffs to prove, and no feasible way for this Court to
adjudicate, this issue on a class-wide basis. Courts within this Circuit and across the country
have refused to treat this kind of case as a collective action when, in reality, it Would be more
like hundreds of individual claims brought by plaintiffs who are not similarly situated in material
respects This Court should do the same and Plaintiffs’ Motion should be denied.

C. T he Named Plaintiffs Occupied Unique Positions And Are Not Similarly-
Situated With Contractors Who Did Not Work On The U.S. AutoForce

Contract In Chicago.

The named Plaintiffs occupied a unique position within JS Express, which was short-
lived and no longer exists They delivered solely for U.S. AutoForce in Chicago, lllinois
Cochran Cert., 11 4, 10. Those Contractor relationships existed only to serve U.S. AutoForce. JS
Express has no offices in Chicago or in lllinois and no other contracts in lllinois Cochran
Cerr., 114. While JS Express also had Contractors in St. Louis who delivered for U.S.
AutoForce, the total amount of Contractors who delivered for U.S. AutoForce constituted less
than 1% of all Contractors Coch)'an Cer'f., 11 14. These unique roles no longer exist as JS
Express no longer has its contract with U.S. AutoForce. Cochran Cert. , 11 4.

Plaintiffs have no independent knowledge of the operations of the other Contr‘actors, and
plaintiffs have offered no evidence from any other Contractors Again, plaintiffs have submitted
no evidence in support of their Motion, but, even if they had, there is no basis to believe that the
Chicago-based Contractors would have any knowledge (let alone admissible evidence) regarding

how JS Express’s main locations function and how other Contractors run their businesses

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Nonetheless, Plaintiffs make threadbare allegations that JS Express treated all of its drivers the
same There is simply no foundation for this argument lndeed, plaintiffs’ argument is
undercut by the 14 attached Contractor Certifications, including the Certification of Marcel
Reynolds, another Contractor who worked out of the Chicago area for third-party U.S.
AutoForce. See Reynola's Ce)"t.

The “duties” of Contractors at JS Express’ main locations in St. Louis, lndianapolis and
Kansas City vary significantly from the “duties” of Contractors (such as plaintiffs) who
performed work for a third-party in Chicago. These differences are evidenced in, among other
things: Contractors’ choice of route type (on-demand, routed or both), JS Express’ client-specific
needs and requirements the industry for which deliveries are being made, the type and number
of opportunities available day to day and location by location, the Contractor’s availability and
desire for more or less work, and the Contractor’s choice of vehicle Supra, § l. For example,
Plaintiffs were - unlike all other Contractors - told by independent management for U.S.
AutoForce what they were to do in any given day. Cocl)ran Cert., 11 10, Reynolals Cert., 11 8.
Additionally, the duties and circumstances of a Contractor providing on-demand services, such
as named Plaintiffs, differ significantly from those providing other services as more fully set
forth in JS Express’ Statement of Facts in support of its ()pposition. Supra, § ll. Further, the
different Contractor services provided and the needs of JS Express’ clients at the various
locations impact the method by which services are performed Supra, § ll.

Plaintiffs claim that Contractors must perform a route in the exact order and manner
specified by the company. Dkt. 55, 11 36. Contractors in other locations did not share this

experience and can control such things as the order of deliver, the pick-up time, and the delivery

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time Hz`cks Cert., 11 9, Rinaberger Cert., 11 16, Simpson Cert., 11 10, Goucher Cert., 11 13; Bauer
Cert. 11 10; Haukup Cert., 11 13, Gray Cerl‘., 11 9; Flemz`ngs Cert., 11 13, 23.

Plaintiffs claim they do not have the opportunity to exercise business skills and initiative
or maintain separate business structures Dkt. 55, 11 28-29. Contractors outside of Chicago were
treated differently Supra, § 11. For instance, Marcel Reynolds (Chicago), Dan Dieters (St.
Louis) and Kevin McClain (St. Louis) all perform services for JS Express under their own
business entities Reynolds Cerr., 11 6, Dieters Cert. , 11 7, McClaz'n Ce)'t., 11 7.

Plaintiffs claim they and those similarly situated cannot hire subcontractors to perform
services under their JS Express contracts Dkt. 55, 11 31. However, Marcel Reynolds (Chicago)
and Chris McKnight (St. Louis) testify that they have hired subcontractors to perform services on
their contracts Reynolcls Cert., 11 5, 11; McKnighf Cert., 11 14. Again, the Chicago Contractors
serving the U.S. AutoForce contract were a distinct group that had different experiences and
conditions on the ground than did the rest of JS Express’ Contractors

Plaintiffs claim they and those similarly situated are precluded from working for others
Dkt. 55 , 11 38. Even assuming that Plaintiffs’ claims are accurate Contractors in Kansas City and
St. Louis were subject to different rules Supra, § 11. For example, Contractor Harry Hicks
(Kansas City) owns and operates a promotional business called Show-l\/le Promotions;
Contractor Daniel Dieters owns and operates DEl Home lnspections, LLC; Contractor Chris
l\/chnight currently works in a restaurant and formerly had a contract with both JS Express and
Access Courier ~ a direct JS Express competitor; and Contractor Richard Frisch previously
managed a Steak N’ Shake Restaurant but recently started contracting full-time to make more

money; Hicks Cerf., 11 16; Dieters Cert., 11 7.', McKnight Cerf., 11, 15; and Frl`sch Ce)'r., 11 8.

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Plaintiffs also claim Contractors had no control over the key determinants of profit and
loss Dkt. 55, 11 37. However, other Contractors confirm they negotiate rates for services With JS
Express, pick and choose routes based on profitability and time commitment and are free to
accept or reject work at will, with no advance Warning, for any reason or no reason at all and
without repercussion. Haukap Cert., 11 7; Reea’er Cert., 1111 4, 7; Reynolds Cert., 11 3; Cochran
Cerr., 11 10; Fleming Cert., 11 14, Rinaberger Cert., 11 7, 9, 12, 17; Bauer Cert., 11 12, Reea'er
Cerl‘., 11 4; Gray Cert., 11 10, 13.

Similarly, Jasper Simpson and others turn down Work where long drives make fuel costs
uneconomical. Simpson Cerf., 11 3; Gray Cert., 11 8. Others turn down work where - in their
estimation -the route simply does not pay enough. McKm`ghz‘ Cerf., 11 10 ; Fleming Cert., 11 7.
Still others optimize their profits by selecting a particular type of vehicle For instance, Kenneth
Maurice Gray replaced his car with a van because he can carry more and earns higher rates per
delivery for the larger items he carries Gray Cert., 11 5. Contractor Richard Bauer “switched
from a car to a truck over the past year because of fuel savings” Bauer Cert., 11 9. Similarly,
some Contractors operate multiple vehicles so they can maximize profits, delivering payroll one
day and large equipment the next. Reynola’s Cert., 11 7. Contractors also testify that they chose
their vehicle because of the types of deliveries it permits them to make Fleml`ng Cerr., 11 6
(drives a minivan because “I can make more money delivering with a van.”)

Moreover, contrary to the claian in the inadmissible DOL report that “Contractors
believe they are permanent employees,” “that they are under “windows of hours” in which they
must “report” for work, that they “have to report their daily availability to JS Express,” and are
“required to wear a JS Express uniform", Contractors doing business with other JS Express

locations and customers testify otherwise Supra, § ll.

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For these reasons, Plaintiffs roles in Chicage that were dependent on the U.S. AutoForce
contract were unique and significantly different from the Contractors working out of JS Express’
other locations They are not similarly Situated and, if the Court grants Plaintiffs’ Motion for
Certification, conditional certification should be strictly limited to the Contractors who delivered
for U.S. AutoForce in Chicago.

I). Plaintiffs’ Proposed Notice Does Not Fullv and Fairlv Inf`orm Putative
Plaintiffs of the Action And a Single Notice Is Sufficient

JS Express does not believe that conditional certification is appropriate in this case and,
as set forth above, opposes Plaintiffs’ motion to that end. Nonetheless, in the event that the
Court does grant Plaintiffs’ motion and conditionally certifies a class, JS Express does not
oppose the issuance of a Court-authorized notice JS Express does, however, have significant
concerns about the form of notice and related response period that Plaintiffs have proposed.

The district court has the authority to manage the cases before it, including the opt-in
process in FLSA actions Ho]j‘mann-La Roche Inc. v. Sperling, 493 U.S. 165, 171 (1989). But,
in exercising that authority it is paramount that the Court avoid giving putative plaintiffs (non-
lawyers who are currently unrepresented) any indication that could be interpreted to mean that
the Court endorses the merits of Plaintiffs’ action:

ln exercising the discretionary authority to oversee the notice-
giving process, courts must be scrupulous to respect judicial

neutrality. To that end, trial courts must take care to avoid even
the appearance of judicial endorsement of the merits of the action

Ho[fmann-La Roclie, 493 U.S. at 174; see also Wooa's v. New Yol'k Ll`fe Ins. Co., 686 F.2d
578, 581 (7th Cir. 1982) (trial courts must avoid the appearance of “judicial sponsorship of the
notice.”).

For this reason, it is inappropriate for Plaintiffs’ notice to begin with a formal pleading

header or case caption, suggesting to an unrepresented party that the notice may be an official

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court-issued document Km`spel v. Chrysler Group LLC, 11-11886, 2012 WL 553722 (E.D.
Mich. Feb. 21, 2012) (“The case caption shall not appear on the notice.”); Martinez v. Cargz`ll
Meat Solutions, 265 F.R.D. 490, 499 (D. Neb. 2009) (“placing the court name in the heading is
improper because it may be misconstrued as judicial support for the plaintiffs' litigation”);
DeKeyser v. Thyssenkrapp Waupaca, Inc., 08-C-488, 2008 WL 5263750 (E.D. Wis Dec. 18,
2008) (striking heading with the name of the Court because it “could have the effect of creating
the appearance of judicial sponsorship of the notice”). lnstead, the notice should be in the format
of a letter fi'om Plaintiffs’ counsel to the potential class members See, e.g., Howara’ v. Securiras
Sec. Servz`ces, USA Inc., 08 C 2746, 2009 WL 140126 (N.D. lll. Jan. 20, 2009) (“Plaintiffs’
counsel should consider placing the notice on its letterhead to ensure that no putative class
member is misled as to the origin of the document.”).

ln addition the Plaintiffs should also be required to include a disclaimer at the top of the
notice stating that the Court has expressed no opinion on the merits of the case; burying that
language at the “bottom of page 2” is unacceptable Martz`nez, 265 F.R.D. at 499. The District
of Nebraska in Martinez required plaintiffs to remove the caption from the notice and, instead,
include the following heading and disclaimer at the tope of the document:

N()TICE OF COLLECTIVE ACTION LAWSUIT

MARTINEZ, ET AL. v. CARGILL MEAT S()LUTIONS
CORP.

This notice is for the sole purpose of determining the identity of
those persons who wish to be involved in this case Although the
United Stated District Court for the District of Nebraska has
authorized sending this notice, the court has not considered or
made any decision as to the merits of plaintiffs' claims or
defendant's defenses

Ial.; see also Km`spel, 2012 WL 553722 (“the Court concludes that the statement

indicating that the Court has not taken a position as to the litigation should appear on the first

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page of the notice”) The Court should order the Plaintiffs to remove the case caption from the
notice and adopt a similar heading and disclaimer as used in Martinez.

Plaintiffs’ notice must also be “accurate.” Ho]jfmann-La Roclze, 493 U.S. at 170.
Plaintiffs’ proposed notice contains the following statement, centered and in bold: “This is r_r_c_)t a
solicitation from a lawyer.” (Dkt. 53-1 at page 3 of 8)(emphasis in original). The notice is
plainly a solicitation to join the suit. And, it is from Plaintiffs’ counsel, who will represent
anyone who opts in. (Dkt. 53-1 at page 6 of 8, “Do 1 have a lawyer in this case?”). Plaintiffs’
proposed language is inaccurate and must be stricken from the notice

Finally, JS Express objects to Plaintiffs’ request to send a “reminder” notice and for a 60-
day opt in period. Courts across the country have held the “reminder” notices are unnecessary,
could be interpreted as judicial encouragement to join the lawsuit, and simply stir up litigation
See, e.g., Schl'oeder v. Humana Inc., No. 1:12-cv-0137, 2012 WL 5931886, *9 (E.D. Wis
November 27, 2012); an`spel v. Chrysler Group LLC, 11-11886, 2012 WL 553722 (E.D. l\/lich.
Feb. 21, 2012); Cala'eron v. Gez'co Gen. Ins. Co., RWT 10CV1958, 2011 WL 98197 (D. Md. lan.
12, 2011); rS`r)iallwooa1 v. lllinois Bell Tel. Co., 710 F. Supp. 2d 746, 754 (N.D. lll. 2010);
Wifteman v. Wl`sconsz`n Bell, Inc., 09-CV-440-VIS, 2010 WL 446033 (W.D. Wis Feb. 2, 2010).
A single notice is common practice throughout the country, and Plaintiffs have made no showing
that it would be insufficient here The Court should deny Plaintiffs’ request to send a 30-day
reminder notice

Plaintiffs have also requested a 60-day period for opt-in plaintiffs to return their consent
forms Plaintiffs however, have not put forward any suggestion that the potential plaintiffs are a
transient group, will be extraordinarily difficult to locate, or have difficulty receiving and

responding to mail such that a long response period is required. As numerous courts have held,

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45 days is a sufficient amount of time for putative plaintiffs to receive, consider', and respond to
the notice Greenwala’ v. th'llz`ps Home Farnishings, Inc., 2009 WL 1025545 (E.D. Mo. April
15, 2009); Km`psel, 2012 WL 553722 at *8', Marl.‘inez, 265 F.R.D. at 501; DeKeyser, 2008 WL
5263750, at *6. Moreover, given the concerns about delay and statute of limitations issues raised
in Plaintiffs’ brief, Plaintiffs should not object to avoiding further delay through the opt-in
process See, e.g., Knipsel, 2012 WL 553722 at *8. Accordingly, the Court should order
Plaintiffs to include a 45-day return period in the notice

E. Plaintiffs’ Request For Equitable Tolling Should Be Denied

As the party seeking relief, Plaintiffs bear the burden of demonstrating that they are
entitled to equitable tolling. Firstcom, lnc. v. Qwest Corp., 555 F.3d 669, 675 (8th Cir. 2009).
Plaintiffs must establish two elements: (1) that they have been pursuing their rights diligently,
and (2) that some extraordinary circumstance stood in their way and prevented them from
seeking conditional certification and sending notices to putative plaintiffs at an earlier date See,

ia'.

“Had Congress wished to have opt-in plaintiffs' lawsuits relate back to the filing date of
the lead plaintiff, Congress would have spelled out such a rule instead of spelling out its
opposite” Sims v. Hous. Aath. of City of El Paso, EP-lO-CV-109-KC, 2010 WL 3221790 (W.D.
Tex. Aug. 13, 2010) (cz`ting 29 U.S.C. § 256). Because it runs contrary to the intent of Congress
and “1b]ecause statutes of limitations protect important interests of certainty, accuracy, and
repose equitable tolling is an exception to the rule, and should therefore be used only in
exceptional circumstances.” Firsl‘com, 555 F.3d at 675 (quoting Mol‘ley v. U.S., 295 F.3d 820,
824 (8th Cir. 2002)). “Equitable tolling is a rare remedy to be applied in unusual circumstances

not a cure-all for an entirely common state of affairs.” Wallace v. Kafo, 549 U.S. 384, 396

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(2007). See also Irwr`n v. Dep’t of Ver‘erans A]jfairs, 498 U.S. 89, 96 (1990) (equitable tolling to
be used “sparingly”); Pecoraro v. Diocese of Rapz`a' City, 435 F.3d 870, 875 (8th Cir. 2006)
(“Courts generally require strict compliance with a statute of limitations and rarely invoke
doctrines such as equitable tolling”). Further, in the Eighth Circuit, equitable tolling is an
“exceedingly narrow window of relief" that may be appropriate when “conduct of the defendant

has lulled the plaintiff into inaction.” Jz'had v. Hvass, 267 F.3d 803, 805 (8th Cir. 2001).

Plaintiffs cannot meet their burden to show that equitable tolling is appropriate here
Moreover, because the application of equitable tolling depends on an individual’s specific
circumstances it should not be applied classwide and is yet another reason that this case is

unsuited for class treatment

z`. Plaintiffs Have Nor‘ Met Their Bara'en To Demonstrafe That They Are Em‘itlea’ To
Equr`table Tolling.

Plaintiffs have not submitted any affidavits or other evidence to establish that they have
been pursuing this case diligently or what extraordinary circumstance they allege, have
prevented them from seeking conditional certification at an earlier date lnstead, Plaintiffs rely
solely on the docket history of this matter, claiming that the procedural history of this action

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amounts to the requisite “extraordinary circumstances Plaintiffs’ attempt to paint the normal
procedural aspects of this matter as “extraordinary” is unpersuasive l\/Ioreover, to the extent

there have been certain delays in this action, they have been caused by factors under Plaintiffs’

unique control.

First, Plaintiffs imply that JS Express delayed this action by requiring personal service of
the summons and complaint Federal Rule 4(d)(2), however, provides that a party may refuse to

waive the personal service requirement What’s more, Plaintiffs fail to explain why they failed

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to serve JS Express for two-months from March 14 to May 17, 2012. A two-month delay in
serving the defendant does not support a finding that Plaintiffs have been pursuing their rights

diligently. Plaintiffs could have easily avoided this delay.

Plaintiffs also complain that the action was delayed due to a transfer from the Northern
District of lllinois Again, this delay Was not an extraordinary circumstance outside of the
Plaintiffs’ control. The fact is Plaintiffs filed their case in the wrong district. The lndependent

Contractor Agreement clearly states:

Any claim or cause of action arising or relating to this Agreement shall be
brought in the Circuit Court of St. Louis County, Missouri, or, if
appropriate in the Federal District Court for the Eastern District of
Missouri, Eastern Division, and the Parties hereby agree to submit to such
jurisdiction

(Dkt. 55 at p. 34 of 38). Any delay related to the transfer of venue was entirely avoidable by

Plaintiffs lt is not the kind of exceptional circumstances beyond Plaintiffs’ control required for

equitable tolling.

ln addition, Plaintiffs fail to mention the more than three-month delay between the
transfer of the case to this district (Dkt. 28) and their motion for conditional class certification
and notice (Dkt. 53). Again, this delay was entirely under Plaintiffs’ control and was not an

extraordinary circumstance

Finally, Plaintiffs cite JS Express’s refusal to contact information for putative class
members as a reason to toll the statute of limitations Of course, JS Express has no obligation
under the FLSA to produce a list of putative class members until the class has been conditionally
certified. Pu).‘rlam v. Galaxy l Mkfg., ]nc., 276 F.R.D. 264, 276 (S.D. lowa 2011). Even then, as

explained in greater detail below, it is not the formal notice issued by Plaintiffs’ counsel that

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determines whether equitable tolling is appropriate; What matters is whether each plaintiff was

sufficiently aware of their legal rights

The Southern District of lowa recently addressed an eerily similar set of facts Putnam v.
Galaxy ] Mktg., Inc. 276 F.R.D. 264 (S.D. lowa 2011). ln Patnam, a group of satellite
television installation technicians filed suit in the Northem District of lllinois alleging that they
were improperly treated as independent contractors in violation of the FLSA’s overtime and
minimum wage requirements Icl. at 267-68. The case was transferred to the Southern District of
lowa, where Plaintiffs’ moved for conditional class certification 13 months after the original

complaint had been filed. lal. at 267.

Plaintiffs sought equitable tolling based on the defendant’s refusal to disclose contact
information for putative plaintiffs Ia’. at 276. The court held that “there is no requirement in
§ 216(b) to provide contact information and this is not sufficient grounds to permit equitable

tolling.” lal. at 276. The court further, and correctly, noted that:

To grant the exceptional remedy of equitable tolling any time an FLSA
defendant declines to provide contact information or to toll claims would,
in effect, require that the statute of limitations for FLSA claims be tolled
as a matter of course for all potential plaintiffs whenever the first plaintiff
files her complaint_a result plainly contrary to the procedural rules that
govern FLSA collective actions

Ia’. (quotingAmerzdola v. Brz'srol-Myers Squil)b Co., 558 F.Supp.2d 459, 480 (SDNY 2008)).

Plaintiffs have submitted no evidence towards their burden to show that equitable tolling
is appropriate in this matter The self-inflicted procedural delays and imagined discovery issues
do not constitute extraordinary circumstances meriting the rare remedy of equitable tolling and

their request should be denied.

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ii. Equz'table Tollz'ng ls An Irla'ivia’aal lssue That Should Not Be Appliea' To A Group
Of Unknown Potential Plaintiffs‘.

The determination of whether equitable tolling is an appropriate remedy turns on each
particular plaintiffs knowledge about the existence of their claim. See, e.g., Goodrrlan v. Porl‘
Autlzoriiy, 850 F. Supp. 2d 363, 382 (S.D.N.Y. 2012) (“whether a reasonable plaintiff in the
circumstances would have been aware of the existence of a cause of action...”); Km'psel v.
Chrysler Group LLC, No. 11-11886, 2012 WL 553722, *6 (E.D. Mich. Feb. 21, 2012) (Weighing
“petitioner’s lack of constructive knowledge” as part of 5-factor test); Excobealo v. Dynasty
Insalafior), Inc., 694 F.Supp.2d 638, 653 (W.D. Tex. 2010) (“equitable tolling focuses on the
employee’s ignorance”). For that reason, equitable tolling is “not suitable for preemptive one-
size-fits -all application to a group of-yet unidentified potential plaintiffs” Ial.; see also Sy)y`a v.
Westat, lnc. 756 F.Supp.2d 682, 689 n. 9 (D. Md. 2010) (“As a rule unknown prospective
plaintiffs in a proposed class action are not entitled to equitable tolling absent a showing of

extraordinary or unusual circumstances.”).

For the same reason, Plaintiffs’ potential reliance on equitable tolling makes this case
unsuitable for class treatment The putative class would be not similarly situated because the
equitable tolling analysis would require the Court to consider each plaintiffs circumstances
individually and hold “an indeterminate number” of separate hearings on the issue Lyorls v.

Potfer, 521 F.3d 981, 983 (8th Cir. 2008);Sy1ja, 756 F.Supp.2d at 689 n 9.

IV. C()NCLUSION
For the reasons stated above Defendant J S Express lncorporated respectfully requests
that this Court deny Plaintiffs’ Motion to Authorize Notice to Similarly Situated Persons

Pursuant to 29 U.S.C. §216(b), and for other and such further relief as this Court deems just and

proper

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Respectfully submitted this 15th day of February, 2013.

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing document was served via
operation of the Court’s electronic filing system this 15th day of February, 2013 to:

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